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        AO 91(Rev. 08/09) CriminalComplaint
      UL--L7L'F.'F'7 ( L E



                                             U NITED STATES D ISTRICT C
                                                                                                 OURT
                                                                     forthe
                                                          Southern DistrictofFlorid
                                                                                        a
                              United StatesofAm erica
                                        V.                                )
                             STEVEN DEXTER GANGOO                        )
                                                                         )          caseNo. 19-6584.sNow
                                                                         )
                                                                         )
                                                                         )

                                                         CRIM INAL COM PLAINT
             1,thecomplainantinthisc
                                    ase,statethatthe following istrueto the bestofmy knowledg
    Onoraboutthedatets)of                                                                      e andbelief.
                                    9/30/2019-11/6/2019          i
         Southern       Districtof                                n the  county of          Broward           in the
                                        Florida          ,t
                                                          hedefendantts)violated:
               CoJeSection
   Title 18, United StatesCode
   Sections2251(a)& (e) ,
                                         Knowingiy used a minorto engage
                                                                     OifenseinDescrlption
                                                                               an
   Title 18, United StatesCode           producing any visualdepic t
                                                                   io            ysexuaslyconductforthe purpose of
                                         Sending Extortionate I
                                                              nte     n ofsuch conduct.
   Section875(d)                ,                                rstate Communicai   tons.




              Thiscrim inalcomplaintisb
                                       ased on thesefacts:
  See attachedAffidavit.



            V Continuedontheattachedsheet.

                                                                                                        <


                                                                                             Complainant'
                                                                                                        ssynature
                                                                                       Lee Bieber, Task Force OfficerFBl
Swol
   mt                                                                                         Printednameandtitle
     o beforemeandsigned in my
                                             presence,

oate,2p q)fj                                                         f----
                                                                                '

                                                                                                4- .
                                                                                                                     '
                                                                                                                     7
                                                                                                                           ï
                                                                                                            e   ..

                                                                         '                     gyyggysyjywspg
City and state:                     FortLaudvrdale, Florida
                                                                              Lurana S.Snow , Uni
                                                                                                ted StatesMaqistrate Judg
                                                                                             Printednameand title          e
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                                 AFFIDAVIT IN SUPPORT OF
                                 A CRIM INAL CO M PLAINT
          1,LeeBieber, TaskForceOfficerwiththeF
                                                    ederalBureau oflnvestigati
  b                                                                          on($kFBI''),having
   een firstduly sworn, do hereby depose and state
                                                   asfollows:
                 1am aDetectivewith thePlantationPoliceDepartm entandh
                                                                            avebeen so employed
     since 2002. I am currently assigned to th
                                                  e Federal Bureau of Investig
    E                                                                           ation (FB1)Child
      xploitation Task Force, M iam iField Office
                                                 , whichtargetsindividualsinvolved in theon-line
    sexualexploitation ofchildren. Aspartofmy duties
                                                         , Ii
                                                            nvestigatecrimesinvolvin
                                                                                      g the sexual
    exploitation ofm inors includi
                                   ng m inor sex trafficking, child pornography
                                                                                , and ent icement
   violations. Ihavereceived training on th
                                            eproperinvestigativetechniquesfortheseviolations
   including the use of surveill                                                                 ,
                                 ance techniques,undercover activitie
                                                                       s,and the application and
  execution ofarrestand search wa
                                      rrants. 1have conducted and assisted i
                                                                               n numerous child
  exploitationinvestigationsand h
                                   aveexecuted searchwan-antsthathave1ed t
                                                                              o seizuresofchild
  pornography and undercoveroperationst
                                          o recover-i
                                                    uvenilevictimsofchildprostitution    .   As a
  DetectivewiththePlantation PoliceDepartment
                                             lhaveinvestigatednum erous
                                                 ,
                                                                        casesinvolving
  SexualBattery, Child Abuse
                            , and ComputerCrimes. Iam al
                                                       so assigned to theSouth Florida
  ICAC (InternetCrimesAgainstChild
                                  ren)Task Force.The Squth Florida ICAC (l
  C                                                                      ntenzet
   rimesAgainstChildren)ispartofaNationalTask Force
                                                           .   South Florida ICAC investigates
 computercrimesrelated to child pom ogr
                                        aphy and crimesrelated totheab
                                                                      use and exploitation
 ofchildren, including on-lineundercove
                                       rinvestigations.
           l am an investigative or law enforcem entofficerofthe Unit
                                                                      ed Stateswithin the
m eaning ofTitle 18, UnitedStatesCodeSection2510(7)
                                                      . Thatis,Iam an officeroftheU nited
States,who isem powered by 1
                              aw to conductinvestigationsofand mak
                                                                    e arrests for,offenses
enumerated in Title 18, United StatesCode
                                         , Sections2422, 2423,2251 and 2252
                                                                             , etseq.
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             3.     Theinform ation contained in thi
                                                      saffidavitisbased on my personalknowl
                                                                                            edge,as
        w ell as information relayed to me
                                                by other law enforcem ent agents in
                                                                                      volved in this
        investigation. The inform ation setforth in thi
                                                       saffidavitisprovided solely forth
                                                                                        epup ose of
       establishing probable cause and
                                           as sueh, does not include everythi
                                                                              ng l know about the
       investigation.

                   Thisaffidavitissubm itted in su
                                                  pportofa CriminalComplaintchargi
                                                                                      ng STEVEN
        DEXTER GANGOO , (htreinafterreferredtoasCC     GANGOO'')withk
                                                                          nowingly using am eans
       of interstate or foreign comme
                                      rce,to use,persuade, induce, entice,and coerce a m inorto
       engage in sexually explicitconductf
                                            orthe purpose of producing visualdepictions ofsuch
       condud forwhich a person can be
                                          charged with a eriminaloffense in violation ofTitle 18
                                                                        ,
      United StatesCode                                                                         ,
                          , Section2251(a)and(e);andwithknowingly and with the intentto extort
      from another person a thing of
                                      value,and did transm itin interst
                                                                      ate or foreign comm erce a
     communieationcontainingathreattoinjurethereputation ofVictim 1
                                                                   ,forwhicha personcan
     becharged withacriminaloffens
                                 e,inviolationofTitle 18, UnitedStatesCode
                                                                                ,   Section875(d).
                        BACKGROUND OF THE INVESTIG ATIO
                                                                      N

        5.      On October8, 2019,itwasreported to the FortL
                                                               auderdale PoliceDepartm entthat
 a l6-year-old fem alechild, herein referred to asVICTIM 1
                                                           , wassolicited fordigitalphotographs
ofherbreastsby an unknown sus
                                  pectusingthe lnstagram socialm ediapl
                                                                         atform .On October 14
2019, Law enforcem entinterviewed VICTIM l                                                    ,
                                                  who advised thatthe suspect using Instagram
                                                                               ,
username @kaiatroy,initially contacted hervialnstagra
                                                     m DirectM essage (DM)aboutaweek
priorto thisincidentbeing reported.H er Instagram nam e atthe ti
                                                               mewas@shay-na.VICTIM 1
stated thatthe unknown suspectoffered h
                                       erm oney via Cash App to takesexually explicitdigital
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     photographsin exchange form
                                   oney.VICTIM 1planned to use herfriend'sC
                                                                                 ash App accountto
     receive paym ent, The suspectinitially directed VICTIM 1
                                                                to take digitalphotographs ofherself
    wearing certain clothing item ssuch
                                     asherbraand underwear. He then direded herto takedi
                                                                                         gital
    photographsofherselfwith breast
                                   sandvaginalareaexposed. VICTIM 1statedthesuspectoff
                                                                                         ered
    to getheranew phoneand up to $1,000.00 whileexplicitly directing h
                                                                      erhow to poseand whatto
    do in thephotos.

                    The suspectasked VICTIM 1 t
                                                   o video chat with him on Snapch
                                                                                    at.VICTIM 1
    identified the suspect'sSnapchat
                                     usernam e as thew avez6. VICTIM 1stated thatduring th
                                                                                            e live
    video chat, the suspectintentionally kepthim self hidde
                                                           n and unrecognizable. Additionally
                                                                                             ,t he
   suspectkepthim selfmuted and provided instructionsto VICTIM 1
                                                                       via Snapchattextmessages.
   VICTIM 1 wasdirected to titwerk''which is a
                                                   sexually proactive dance
                                                                            in which thesubject's
   buttocks is the m ain focus. She
                                    wasthen told to btnd overand show h
                                                                           ervagina,and open her
  vaginallips. VICTIM 1complied withthesus
                                               pect'sinstructions. UnbeknownsttoVICTIM 1
                                                                                            ,the
  suspectscreen recorded thevideochat.

                 The suspectrevealed histl'ue int
                                                  entionswhen he refused to provide
                                                                                      paym ent.He
  then dem anded thatVICTIM 1c
                                   ontinue to produee and transm itdigit
                                                                         alphotographsand videos
 ofherselfperforming sexualact
                                 ssuch asm asturbation. Thesuspectthreated to expose VICTIM 1
 ifshe refused to comply. The previously sentdigitalphoto
                                                              graphs were used asleverageto gain
 compliance.The suspectalso instructed VICTIM 1
                                                     to recruitotherunderage fem alesforthe sam e
purpose.lfshecooperated withhisdem ands
                                            ,therewouldbenoextortion. Additionally
                                                                                     ,the suspect
used intim idation to gain com plian
                                    ce by telling VICTIM l thathe k
                                                                        new her address and what
schoolshecurrently attends. ThesuspecttoldVICTIM 1thath
                                                                e expectshertobereadyw henever
hetextsher. The susped threated to distributeh
                                                ersexually explicitimages/videosto herfriends
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    ifsherefused to com ply orbreaksa
                                     rule.Thisincludesanswering him right aw ay
                                                                                   , notsendi
                                                                                            ng a
   video or photo he wants, and /or notrecruiting other underag
                                                                  e fem ales to send him photos.
   According to VICTIM 1, the suspectultim ately distributed sc
                                                               reen shotsfrom thelive video chat
   aswellas digitalphotographs thatshe
                                          previously sentto him , to m ultiple people on Instagram
                                                                                                     .
  EventuallyVICTIM lrefusedtocompl
                                       ywith suspect'sdem andsanddecidedt
                                                                          oreporttheincident
  tolaw enforcem ent. VICTIM 1m entionedthatshefearsforh
                                                          ersafety andisemotionally distressed
  duetothefactthatthesuspectdistrib
                                    uted theaforementioned photosand video
                                                                          stoknown persons
  who attend herschool.

          8.     Itshould benoted, V ICTIM 1toldthesuspectshewas 16
                                                                         years-old duringthechat
  exchange.Atwhich time he continued to
                                          requesthertoproduce the sexually explicitphotosand
  videos.Thesuspectstated hewas19 ye
                                      ars-oldand lived in Texas. Thevictim deleted someofthe
  chats,butdid screen shotthemorerecent
                                        chatswherethe suspectdiscussed exposingthevictim if
  shedid notcooperate.

                 On October23, 2019,a search warrantwasserved on F
                                                                   acebook,Inc.forthe data
  recordspertainingtothesuspect'slnstagram
                                           useraccountkaiatroy.Facebookprovided aresponse
 which showsthechatexchange betwee
                                      n VICTIM 1, using lnstagram usernam evocalbaby
                                                                                     , and-

 the suspect, using Instagram username kaiatroy
                                               . VICTIM 1 m entioned that she changed h
                                                                                              er
username from Sdshay na''to 'tvocalbaby ''afterth
                                                 e incident.However, both usernamesare listed
underthesam eaccountnumber. Thechatexchangebetween VICTIM 1
                                                             and thesuspectstarted on
Septem ber30, 2019andcontinuedpastOctober5
                                           2019.Thesusped beganwith offering VICTIM
                                                 ,

l m oney in exchange for sexy videos
                                       and images of her ddtwerking.''The suspect's dem ands
escalated from twerking to sexually explicitcondud in which herequestedthatsh
                                                                             e m anipulate her
vaginawith herhands.


                                             4
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           10.    Victim 1'sallegationswereco
                                             noborated in videosfound on lnstagram
                                                                                        ofVICTIM
    lm asturbating and manipulating hervagina.Throughoutthechatexchange
                                                                        ,t
                                                                         hesuspectexplicitly
   directs VICTIM 1 on how to produc
                                    e the sexually explicitimages and /orvideos.The suspect
   offersVICTIM 1variousamountsofm
                                        oneyandanew phonein exchangeforthesei
                                                                                 m ages,videos,
   and livevideochats. In thechatlog itappearsthatVICTIM 1isreluctantt
                                    ,
                                                                         oproducetherequested
   imagesand videosbutthesuspectenc
                                       ourageshertocontinueby reiterating paym entf
                                                                                   orsuch files.
   The suspect eventually admits he s
                                      creen-recorded the live video chats in which VICTIM 1
   conduded sex actsasperhisdirection. The lnstagram chatsalso show the sus
                                                                           pectthreatening to
  exposeVICTIM lifshe refused comply hisd
                                             em andswhile sim ultaneously distributing th
                                                                                         e said
  imagesofvideosofVICTIM 1to otherInstagram users
                                                     .



         11.    ln thechatexchange, thesuspectacknowledgesthatVICTIM 1i
                                                                               sachild when he
  sends two m essages stating that he is awar
                                             e sht is dlunderage.''W hen VICTIM 1 inform s the
 suspectthatsheisl6-years-old, herepliesthathehashad othergirlsyou
                                                                       ngerthan her,dothesnm e
 thing.


               ltshould be noted, the susped interactswith severalotherIn
                                                                         stagram accounts.He
 seeksi;CP,''which isthe term forChild Pom
                                            ography,and asks forvideosorim agesof('young''
girlsandtellsothersubjectsthathehaschildponzographyofeverykindto tradewith
                                                                                  .   Thesuspect
sends and receives links to M ega and D
                                           ropbox accounts containing child pornog
                                                                                     raphy.Law
 enforcem entvisited the live links and sub
                                           sequently docum ented, confirm ed,and preserved the
accountswherepossible. There werechild pornography imagesand
                                                                    videosofvictim sasyoung as
three yearsold being forced into sex a
                                      ctsw ith adultm ales, including vaginal oral,analsex
                                                                            ,             , and
bondage.




                                             5
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                         The suspect's Instagram data record returns co
                                                                           ntained five (5)imagesofchild
  pom ography depicting VICTIM 1. These files,described below
                                                              , w ere sent t
                                                                           o the suspect on
  October5,2019.

         d1rect st0r1es 2147761294457964204.
                    -            .          mp4- Thisvideo depictsVICTIM 1reaching into
         herblue underwearand masturbating.
         direct stories 2147786649319326308.
                -                -
                                                      jpg-AnimageofVICTIM 1masturbating          .

         direct- stories- 2147790718549167405.m p4- Thisvideo depictstherecording of
        VICTIM 1'svaginaassheopensthelabia(persuspect'si
                                                            nstruction).
        direct stories 2151072899749118983
                -
                      V                    j17g- A screenshotofthesuspect'scamerarollin
                                                      .
        which the victlm 'spreviously described im agesand videosareallvisible.Thereare
        possibly m orevideosofVICTIM 1m asturbating.
        direct- stories z147773396988168840.mp4 - Thisvideo depidsVICTIM lm anipulating
                             -

        herbreastsand nipplesin alewd lasciviousm anner.


                        The suspect's Instagram data record returns also
                                                                           contained a screen shot image
 depictingaM egaAccount(cloudaccount), whichrevealedtwenty(20)videothumbnailsofknown
 child pornography with prepubescentfem ale child vi
                                                            ctims(ages7-l0)engaged in sex adswith
 adultm ales.

       l5.    On Novem ber 4, 2019,VICTIM 1 mct with law enforcement fro
                                                                                m the Fort
Lauderdale Police Department. During the follow-up interview
                                                             , VICTIM 1positively identified
theaforementioned im agesand videosofherselfwhi
                                                 ch wasdiscoveredin the suspect'sInstagram
account. VICTIM 1also identifiable hertattoosthatare visibl
                                                           ein theseim agesand videos.

               On October 23, 2019,a search warrantwasalso served on Snap
                                                                         chatforthe data
reeords pertaining to the suspect's Snapchat user
                                                  account thewavez6. Snapchat provided a
response w hich show s the suspect chatting w ith V ICTIM
                                                                             using Snapchat usernam e
@ shay-nawatson.ltwasalso discoveredthatthe suspectengaged in sexually explicitchatsw ith

                                                     6
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  otherfem ale children,al1nearthe age of 13. He requested sexually explicitimages,videos, and

  livevideo chatsfrom theseunidentitsed victim susingthesame modus operandi.

         17.    Thecontentprovidedby Snapchatand lnstagram ofthesuspect'saccountsrevealed

  child pornography, explicit chats regarding extortion, distribution, and production of child

  pom ography/sexualperform anceoflive child victim s.

         18.    ln both the Snapchatand Instagram search warrantretum s, IP history logswere

 provided regarding the subscribed user/suspect's account activity. Both the Snapchat and

 lnstagram IP addresseswere identical, and both resolveback to AT&T.

                A subpoenawassubm itted to AT&T forsubscriberinform ation pertaining to these

 IP Addresses.AT&T provided a response to the subpoena on October 30, 20l9.The response

 showsthatthese IP Addresseswere assigned to subscriberDixie-Ann Gangoo with an addressof

 4234 SW 21StStreetFortLauderdale, Florida33317.

        20.     Law enforcementfrom the InternetCrimesAgainstChildren (ICAC)Task Force
 conducted surveillance on thetargetresidence4234 SW 21Streetin FortLauderdale. D uring the

 ongoing surveillance,1aw enforcem entused a com mercialdeviceto review a1lW iFiconnections

 in the area.W hile stopped directly in front of the residence, it was confirm ed thata1l W iFi

 connectionsatornear4234 SW 21 Streetwerepassword locked and secured.

               On November6,2019,a search warrantwasexecuted atthetargetresidence4234

 SW 2 1 Streetin FortLauderdale.Pursuantto the execution ofthe warrant, 1aw enforcem entm ade

 contactwith occupants in the residence. O ne of w hich w as an l8-year-old adult m ale STEV EN

 DEXTER GA N G OO .STEV EN GA N GO O , herein referred to asGANGOO , voluntarily agreed
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  to speak with officerson scene.Afterbeing advisedoftheidentity oftheinterviewing officersand

  thenatureoftheinterview,GANGOO provided thefollowing inform ation:

        22.     GANGOO identised otheroccupantsin theresidence, hisbedroom ,and electronic

  devices he had access too. Additionally, he confirmed ownership of Snapchat user account

 thewavez6 and lnstagram user account kaiatroy. GANGOO advised that these accounts were

 accessed from hisApple iphone. Thisdevicebelongsto him , ispasscodeprotected and he isthe
                                                                             ,

 only person w ho uses it. GANGOO believed that1aw enforcem entwas athisresidence due to a

 girlsendinghim nudeimagesonhislnstagram account. Hethoughtthatotherstudentsathisschool

 reported thataccount.Subsequentto providing confinnation ofthe aforem entioned accountsand

 m aking this statem ent,GANGOO w as read his M iranda rights, which he understood and the

 interview continued.

               GANGOO statedthathe initiated thechatexchangewithV ICTIM 1, Heoffered to

 send herCash App m oney in exchange forthe nude images. GANGOO admitted thathe had no

 intention ofproviding paym ent. GANGOO mentioned thatVICTIM 1thoughthe was going to

 blackmailheraftershesenthim thenudefiless andno paymentwasrendered. He stated VICTIM

 1eventually blocked him .Duringthe chatexchange, GANGOO instructed VICTIM 1to produce

 images/videosofherbreasts, vagina,andbuttocks.GANGOO offeredherm orem oneytoproduce

 these nude im ages when she said that the am ount was not enough. GANGOO stated that

communicationswith VICTIM 1also occurred vialivevideo chat.

       24.    GA N GO O again confirm ed ow nership of the aforem entioned lnstagram and

Snapchat accounts as well as the email addresstes) thewave6g4zo@gmailcom and     ,



awaseomfbsjjs@gmail.com whichwereassociatedtotheseaccounts.GANGOO admittedthathe
created thesedum my,orfake, accountsinorderto obtain nudephotosfrom girls. He rem embered

                                             8
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  thatVICTIM 1 wasiithe one''thatwanted a phone in exchange fornude photos/videos. He also

  noted thatshe senthim heraddress. GAN GOO knew thatVICTIM 1attended the same school,

  butneverintroduced him self.

           25.   During a live video chatsession,GANGOO instructed VICTIM lto twerk, show

  her çiboobs,''and open her vagina.VICTIM 1 complied with his instnlctions. Additionally,

  GAN GOO confirmed thathe saved the video/live chatting via the screen record function on his

  Apple iphone.GANGOO knew shewasundertheage of18.

                 GANGOO admitted that he threatened to expose VICTIM 1 if she refused to

  complywith hisdemands.Healso adm itted to directing VICTIM 1torecruitotherfem alevictim s

  whowould sendhim thesam etypeofim agesand videos. GANGOO toldVICTIM 1thatheprefers

  girlsunderl8-years-old and any girlsthatsheknowsfrom high school, preferable from hergrade

  level.

           27.   GANGOO identified and signed the previously described im ages ofVICTIM 1

 which were found in his Instagram accountwith the usem ame kaiatroy. It should be noted that

 VICTIM 1 also identified herself in these photos and videos prior to the search warrant on

 GANGOO'Sresidence.GANGOO admitted to saving the sexually explicitphotosand videosof

 the l6-year-old victim which she produced at his direction. GANGOO confirm ed that he

 distributed ascreenshotofhiscamerarollshowingthesaved childpornography im agesandvideos

 ofV ICTIM 1 to other lnstagram users. The purpose ofdistributing the screenshotwas to show

 VICTIM 1thathewouldfollow through withhisthreats. GANGOO adm ittedthathefeltbadabout

 hisactionstoward VICTIM 1afterlearning thatshe wasem otionaldistressed atschooloverthe

 incident.W hile in the presents of 1aw enforcement,GAN GOO wrote a letter to VICTIM 1
                                                                                      ,

 apologizing forhisactions.

                                             9
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         28. GANGOO statedheknew thedefinition ofchildpornography(CP),hasviewed it
  in the past,and has child pom ography videos in his M ega account and on his Apple iphone.

  GAN G O O 'SApple iphone X S cellularphone w as loeated on hisbed and plugged into the w all.

         29.    A Forensicpreview ofGAN GOO'SAppleiphoneXSM axwasconductedon scene.

  The preview revealed im ages and videos of VICTIM 1 prefonning sexualacts.Further child

  pornography imageswere located on GANGOO'SApple iphone.Additionalchild pom ography

  im ages w ere located w ithin a chat conversation in one of the phone's chat applications. These

  imagesdepid femalechildrenbetweentheagesof3(three)and 14(fourteen)yearsold,engaging
  in sexualactswith adultm en,including oralsex,vaginalsex,and bondage.Therearem any other

  child pornography imageswithinthe suspect'sphone,pending future forensic exam ination.




                                           C O N CLU SIO N

        30.     Based ontheaforem entioned factualinform ation,youraffantrespectfully subm its

  thatthere isprobablecause to believethatGANGOO did knowingly,using am eansofinterstate

  orforeign comm erce,to use,persuade,induce,entice,and coerce a minorto engage in sexually

  explicitconductforthepum oseofproducing visualdepictionsofsuch conductforwhich aperson

  can be charged with a criminaloffense,in violation of Title 18,United States Code, Section

 2251(a)and(e);anddidknowingly,withtheintenttoextortfrom anotherperson athingofvalue,
 anddidtransmitininterstateorforeigncommerceacommunication containing athreatto injure



                                               10
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  thereputation ofVICTIM 1,forwhichaperson can bechargedwith acrim inaloffense,inviolation

  ofTitle18,United StatesCode,Section875(d).


      F UR TH ER YO UR A FFIA N T SW YE TH NA UGH T


                                                                       r



                                                 Lee Bieber,Task Force O fficer
                                                 FederalBureau oflnvestigation




                                             *z
        SwornandsubscribedbeforemethisV dayofDecember,2019.


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            -                            ,
                                         L
                                         3 t
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                                           jg
                                            y
                                            j
              N A S.SN O W
        UN ITED STA TES M A G ISTRATE JU D G E
